           Case 1:24-cv-00648-AA      Document 14-1    Filed 05/07/24   Page 1 of 2


1

2

3

4

5
                            UNITED STATES DISTRICT COURT
6
                                 DISTRICT OF OREGON
7                                 MEDFORD DMSION

8    In re the Matter of J.P. and E.P.:
                                                 Civil Action No. 1:24-cv-00648-AA
9
     ARNAUD PARIS,
10                                               ORDER FOR UNSUPERVISED AND
                               Petitioner,       DIRECT COMMUNICATION OF
11   and                                         THE CHILDREN WITH FATHER
12   HEIDI MARIE BROWN,
13
                               Res ondent.
14

15   ORDER FOR UNSUPERVISED AND DIRECT COMMUNICATION OF
16
     CHILDREN WITH FATHER BY VIDEO CALLS IS AT PROPER FRENCH
17
     HOURS:
18
     ()GRANTED
19

20   ()DENIED

21   IT IS SO ORDERED.
22
     DATED this_ day of May, 2024
23
                                                      THE HONORABLE ANN L. AIKEN
24
                                             UNITED STATES DISTRICT COURT JUDGE
25

      ORDER FOR UNSUPERVISED AND DIRECT
      COMMUNICATION WITH FATHER -
      Page 1 of 2         Case No. l :24-cv-00648-AA
           Case 1:24-cv-00648-AA        Document 14-1       Filed 05/07/24      Page 2 of 2


1

2

3

4
                                                       Submitted by:
5                                                      Arnaud PARIS, Pro Per
6

7

8
                                                       ·1 rue Ferdinand Duval
9
                                                        75004 Paris, FRANCE
10                                                      +33.6.88.28.36.41

11

12

13
                                         VERIFICATION
14
           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
15   of America that the foregoing is true and correct.
16
     SIGNED AND DATED this 6th day of May, 2024, in Paris, France.
17

18

19

20
                                        Arnaud Paris
21

22
23

24

25

      ORDER FOR UNSUPERVISED AND DIRECT
      COMMUNICATION WITH FATHER -
      Page 2 of 2                  Case No. 1:24-cv-00648-AA
